      Case 1:19-cv-06736-KAM-SMG Document 1-7 Filed 11/29/19 Page 1 of 1 PageID #: 54
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                      Eastern District of New York

Lianna King, individually and on behalf of all                   )
others similarly situated,                                       )
                                                                 )
                                                                 )
                            Plaintiff(s)
                                                                 )
                                                                 )
                                v.                               )       Civil Action No. 1:19-cv-06736
                                                                 )
H Mart, Inc.                                                     )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) H Mart, Inc.
                                           c/o Corporation Service Company
                                           251 LITTLE FALLS DR
                                           WILMINGTON DE 19808-1674


          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you_
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ._
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: SHEEHAN & ASSOCIATES, P.C., 505 NORTHERN BLVD STE 311 GREAT
                                       NECK NY 11021-5101, (516) 303-0552




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint._
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk
